        Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 1 of 14                                 FILED
                                                                                              2018 Jun-12 PM 06:20
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION




EQUAL EMPLOYMENT OPPERTUNITY
COMMISSION, and
VINCENT JACKSON, Plaintiff -Intervener               )
                                                     )
               Plaintiffs,                           )      CIVIL ACTION NO.:
                                                     )
       v.                                            )       2:17-cv-1649 MHH
                                                     )
DOLGENCORP, LLC,                                     )       JURY TRIAL REQUESTED
                                                     )
               Defendant.                            )



                     PLAINTIFF VINCENT JACKSON'S COMPLAINT
                                 IN INTERVENTION

                                  NATURE OF THE ACTION

       This is an action under Title I of the Americans with Disabilities Act of 1990, as

amended by the ADA Amendments Act of 2008, 42 U.S.C. § 12101 et seq., ("ADA"), Title II of

the Genetic Information Non-Discrimination Act of 2008, 42 U.S.C. 2000ff et seq., ("GINA")

and Title I of the Civil Rights Act of 1991, 42 U.S.C. §198la, related to unlawful employment

practices on the basis of disability and genetic information against plaintiff, Vincent Jackson

("Jackson").

Dolgencorp, LLC ("Defendant" or "Dollar General") discriminated against Jackson, a qualified

individual with a disability when it failed to hire Jackson for general warehouse positions because

of disability, perceived disability and/or record of disability. Defendant further discriminated

against Jackson when it used post-offer medical examinations to screen out individuals with
        Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 2 of 14




disabilities by means of exclusionary criteria that were neither job-relate d nor consistent with

business necessity. In addition, Defendant unlawfully sought genetic information about Jackson

for employment by requiring him to provide, as part of the post-offer medical examination, family

medical history.

                                 JURISDICTION AND VENUE

1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343

and 1345. This action is authorized and instituted pursuant to Section 107(a) of the Americans

with Disabilities Act of 1990, 42 U.S.C. § 12117(a), and Section 207(a) of the Genetic

Information Non-Discrimination Act of 2008, 42 U.S.C. § 2000ff-6(a), both of which incorporate

by reference Section 706(t)(l ) and (3) of Title VII of the Civil Rights Act of 1964 ("Title VII"),

42 U.S.C.§ 2000e-5(t)(l) and (3), and pursuant to Section 102 of the Civil Rights Act of 1991,

42 U.S.C. § 1981a.

2.     The employment practices alleged to be unlawful were and are now being committed

in Jefferson County, Alabama, which is within the jurisdiction of the United States District

Court for the Northern District of Alabama, Southern Division .

                               STATEMENT OF THE PARTIES

 3.    Plaintiff, Jackson, is a qualified individual with a disability under the Americans with

Disabilities Act of 1990, 42 U.S.C. §§ 12102 and 12111(8)..

4.    At all relevant times, Defendant has continuously been doing business in the State of

Alabama and the City of Bessemer, and has continuously had at least 15 employees.

5.     At all relevant times, Defendant has continuously been an employer engaged in an industry

affecting commerce under Sections 101(5) and 101(7) of the ADA, 42 U.S.C.§§ 12111(5), (7),

and under Section 201(2)(B)(i) of the GINA, 42 U.S.C.§ 2000ff(2)(8)(i), which incorporate by
           Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 3 of 14




reference Section 70l(b), (g), and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).

6.        At all relevant times, Defendant Employer has been a covered entity under Section

101(2) of the ADA, 42 U.S.C. § 12111(2).

                       ADMINISTRATIVE PROCEDURAL BACKGROUND

7.        More than thirty days prior to the institution of this lawsuit, Jackson filed a charge on June

18, 2014 EEOC Charge Number 420--2014-02227 with the Commission alleging violations of the

ADA and GINA by Defendant .

8.        On May 9, 2017, the Commission issued to Defendant a Letter of Determination finding

reasonable cause to believe that the ADA and GINA were violated as to Jackson and a class of

individuals and inviting Defendant to join with the Commission in informal methods of

conciliation to endeavor to eliminate the unlawful employment practices and provide appropriate

relief.

9.        On August 10, 2017, the Commission issued to Defendant a Notice of Failure of

Conciliation advising Defendant that the Commission was unable to secure from Defendant a

conciliation agreement acceptable to the Commission.

10.       All conditions precedent to the institution of this lawsuit have been fulfilled.

                                       STATEMENT OF FACTS

11.       Since at least December of 2013, Defendant has hired general warehouse workers for its

Bessemer,      Alabama      facility using a two-step process.           Jackson       applied    for

employment            at   the    Bessemer        facility      ,however,        he    was   denied

e m p l o y m e n t . Defendant first reviewed applications, interviewed applicants, and extended

conditional offers to those applicants it wished to hire. Next, Defendant scheduled those

conditional offerees to undergo an extensive, and often, highly invasive, post-offer medical
         Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 4 of 14




examination. Defendant hired only those applicants who received a rating of "Qualified" as a

result of the medical exam. Jackson was forced to undergo this invasive medical examination.

12.    In 2011, Defendant contracted with Middle Creek Medical Center ("Middle Creek"), a

third-party health services provider, to conduct the post-offer medical examinations.

13.     At all times relevant to this action, Middle Creek acted as an agent of Defendant in the

conduct of the post-offer medical examinations.

14.     Defendant set the format and content of the exams. Specifically, Defendant provided

Middle Creek with instructions on conducting the exams and Defendant provided Middle

Creek with specific forms to use in collecting and recording the results of the examinations.

The forms provided to Middle Creek contained Defendant's business logo. The forms and

instructions were sent to Middle Creek by Defendant when it retained Middle Creek.

15.     Defendant' s post-offer examination included the taking of vital signs, the completion

of a drug test, a vision test, a medical and health history questionnaire, a review of current

medications, and a physical examination, including, in some instances, genital examination

of job applicants.

16.     The examinations were conducted by Middle Creek medical assistants and certified

registered nurse practitioners . During the examinations, Middle Creek medical personnel

recorded their observations in exam notes.

17.     At the conclusion of the examination, Middle Creek rated the conditional hire as

"Qualified," "Not Qualified,"or "Referred to PMD" (referred to primary medical doctor) based

on the results of the examination.


18.     Middle Creek rated a conditional hire as “Referred to PMD” when it did not have

enough information to fail or clear the applicant on the spot.
          Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 5 of 14




19.      Upon completion of the examination, Middle Creek faxed Defendant a one page result

sheet indicating, with respect to the candidate, only whether that candidate had rated Qualified,

Not Qualified or Referred to PMD.

20.      Defendant did not hire a candidate unless he or she passed the post-offer medical

examination with a rating of “Qualified.” Jackson who suffered from binocular vision was not

offered employment following the medical examination.

                                   STATEMENT OF CLAIMS

                        COUNT ONE – DISABILITY DISCRIMINATION

21.      Plaintiff-intervener realleges and incorporates by reference Paragraphs 1-20 herein.

22.      Since at least December of 2013, Defendant has engaged in unlawful employment

practices involving its Bessemer, Alabama facility in violation of Title I of the ADA, 42

U.S.C.

§§ 12112(a) and 12112(b)(6). These unlawful employment practices include discriminating

against Vincent Jackson on the basis of disability.

         a.    Vincent Jackson is a qualified individual with a disability under the ADA,

         42 U.S.C. §§ 12102 and 12111(8). Jackson has an impairment – monocular vision – that

         substantially limits a major life activity. In the alternative, Defendant regarded Jackson

         as having a disability by subjecting him to an adverse employment action when it

         failed to hire him for a general warehouse position because of an actual or perceived

         impairment.

         b.    On or about June 7, 2014, Jackson applied for a general warehouse

               position with Defendant in Bessemer, Alabama.

         c.    After an interview by the Warehouse Supervisor, Defendant extended Jackson
     Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 6 of 14




         an offer of employment, contingent upon successful completion of a post-offer

         medical examination.

d.       On June 17, 2014, Jackson underwent a post-offer medical examination at

         Middle Creek.

e.       At the beginning of the examination, Jackson informed Middle Creek that he could

         not see out of his right eye and that this condition was not correctable. Jackson

         informed Middle Creek that his monocular vision had not prevented him from

         working similar jobs in the past.

f.       Middle Creek responded that Dollar General's standard required candidates to

         have 20/50 vision or better in both eyes in order to pass the eye exam. Middle

         Creek informed Jackson that his monocular vision disqualified him from the job.

g.       Jackson asked to continue the exam.

h.       A certified registered nurse practitioner from Middle Creek then entered the exam

         room and began to conduct the physical portion of the exam. When that nurse

         practitioner learned of Jackson's monocular vision, she suggested he see an eye

         specialist to confirm his eye condition was not correctable.

i.       Jackson replied that he was certain his condition was not correctable.

j.       At the conclusion of the examination, Middle Creek rated Jackson "Not

         Qualified," noting that he had "failed the vision exam" and "refused the physical

         examination."

k.       Middle Creek faxed this result to Defendant.

l.       Defendant did not hire Jackson.


m.       Exam notes for other patients with vision difficulties indicate that Defendant
         Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 7 of 14




       instructed Middle Creek that it was not necessary to finish the medical examination if the

       patient failed the vision test and that such candidates were “Not Qualified.”

23.    Defendant's refusal to hire Jackson and/or rescission of his offer on the basis of his

monocular vision constituted discrimination on the basis of disability.

24.    The effect of the practices detailed in Paragraphs 21-23 has been to deprive Jackson

of equal employment opportunities and otherwise adversely affect his status as an applicant

for employment because of disability.

25.    Since at least December 2013, Defendant has engaged in unlawful employment practices

involving its Bessemer, Alabama facility in violation of Title I of the ADA, 42 U.S.C.

§§ 12112(a) and 12112(b)(6). These unlawful employment practices include discriminating

against Jackson and a class of job applicants on the basis of disability.

       a.      On information and belief, Defendant, in the administration of its post offer

              medical examination, uses qualification standards or selection criteria that screen

              out or tend to screen out an individual with a disability or a class of individuals with

              disabilities.

        b.     Defendant informed Middle Creek that candidates whose (corrected) vision did

               not measure 20/50 or better in both eyes were “Not Qualified.”

        c.     Defendant informed Middle Creek that candidates whose blood pressure

               measured 160/100 or higher were “Not Qualified .”

        d.     On information and belief, Defendant informed Middle Creek that individuals

               with blood sugar over a certain threshold and assorted other impairments were

               “Not Qualified .”


        e.     Binocular vision is not an essential function of the general warehouse worker
        Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 8 of 14




              position .

       f.     Blood pressure that measures less than 160/100 is not an essential function of the

       general warehouse worker position.

       g.     None of the other criteria or standards which Defendant deemed disqualifying

       constitute essential functions of the general warehouse worker position.

       h.     On their faces, Defendant's qualification standards and selection criteria operate

              as blanket policies that go beyond the essential job functions, that are not

              mandated by law, and that screen out qualified individuals with disabilities on the

              basis of disability.

       i.     Because Defendant would not hire anyone who did not rate "Qualified" and

              because those with certain impairments, including blood pressure over 160/l00

              and monocular vision, could not rate "Qualified" under Defendant's qualification

              standards, these individuals were not eligible for hire.

       j.     Defendant's qualification standards or selection criteria were not job related or

              consistent with business necessity.

       k.     Defendant through the operation of these qualification standards and selection

              criteria discriminated against Jackson.

26.    The effect of the practices detailed in Paragraph 25 has been to deprive Jackson of equal

employment opportunities and t o otherwise adversely affect his status as an applicant for

employment because of disability.

                 COUNT TWO – UNLAWFUL MEDICAL EXAMINATION

27.    Plaintiff re-alleges and incorporates by reference Paragraphs 1-26 herein.

28.    Since at least December 2013, Defendant has engaged in unlawful employment
         Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 9 of 14




practices involving its Bessemer, Alabama facility in violation of Title I of the ADA, 42 U

.S.C. 12112(d)(3).These unlawful employment practices include discriminating against

Jackson by subjecting him to unlawful post-offer medical examinations.

29.     Since at least December 2013 Defendant has used the results of its post-offer

medical examinations to screen out qualified individuals with disabilities using criteria that

are neither job-related nor consistent with business necessity.

30.     Defendant has further used the results of its post-offer medical examinations to

require individuals with certain impairments to obtain, sometimes costly, additional

medical examinations at their own expense, after the examinations revealed these

impairments or a record of such impairments, in a manner that is not job related nor consistent

with business necessity.

31.     Defendant thereby used the results of its post-offer medical examinations in a

discriminatory manner against Jackson.

32.     The effect of the practices detailed in Paragraphs 27-31 above has been to deprive

Jackson of equal employment opportunities and to otherwise affect his status as an applicant

because of disabilities.

                           COUNT THREE – VIOLATION OF GINA


33.     Plaintiff re-alleges and incorporates by reference Paragraphs 1-32 herein .

35.     Since at least 2011, Defendant has engaged in unlawful employment practices at its

Bessemer, Alabama facility in violation of Title II of GINA, 42 U.S.C.2000ff-l(b)(l) since at

least 2011 Defendant has requested and required applicants for employment to undergo a post-

offer medical examination conducted for Defendant by Middle Creek.
           Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 10 of 14




36.    From 2011 through August 21, 2014 Defendant requested and required conditional

hires to complete a health and medical questionnaire for Middle Creek, which included a

section requesting applicants indicate whether their grandparents, parents or children have

suffered from significant medical problems.

37.    From 2011 through August 21, 2014, Defendant’s agent, Middle Creek, conducted

additional detailed inquiries into the family medical history of applicants during the in person

medical examinations, which included soliciting information regarding cancer history, heart

history, and blood pressure history.

 38.   On June 17, 2014, Jackson went to Middle Creek and was requested and required to

complete Defendant's health and medical questionnaire form which requested family medical

history.

39.    On June 17, 2014, Jackson went to Middle Creek and was subjected to additional detailed

questioning regarding his family medical history during the in-person portion of the post-offer

examination.

40.    Defendant's request for genetic information was not inadvertent.

41.    On or about August 22, 2014, Defendant provided Middle Creek with a new health

and medical questionnaire that removed the question soliciting family medical history.

Defendant instructed Middle Creek not to request family medical history.

42.    From 2011 through August 21, 2014, Defendant required every conditional hire who

underwent a post-offer medical examination at Middle Creek to disclose family medical history

through the health and medical questionnaire and through in person inquiries.

43.    The effect of the practices complained of in Paragraphs 33-42 above has been to deprive

Jackson and a class of applicants of equal employment opportunities and otherwise adversely

affect their status as applicants because of their genetic information.
        Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 11 of 14




44.     The unlawful employment practices complained of in Paragraphs 21-23, 25, 27- 31, 33-

42 above were and are intentional.

45.     The unlawful employment practices complained of in Paragraphs 21-23, 25, 27- 31, 33-

42 above were and are done with malice or with reckless indifference to the federally protected

rights of Jackson..

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff-Intervener Vincent Jackson, respectfully requests that this Honorable
Court:

       A. Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

       employees, attorneys, and all persons in active concert or participation with it, from

       failing to provide equal employment opportunities to Jackson for employment and

       employees with disabilities and to accommodate applicants' and employees' disabilities,

       and any other employment practice which discriminates on the basis of disability.

       B. Order Defendant to institute and carry out policies, practices, and programs which

       provide equal employment opportunities for qualified individuals with disabilities and

       which eradicate the effects of its past and present unlawful employment practices.

       C.    Order Defendant to make Jackson whole, by providing appropriate back pay and

       front pay with prejudgment interest, in amounts to be determined

        at trial, and other affirmative relief necessary to eradicate the effects of its unlawful

        employment practices.

       D. Order Defendant to make Jackson whole by providing compensation for past and

            future pecuniary losses resulting from the unlawful employment practices described

            in Paragraphs 21-23, 25, 27-31, 33-42 above, including past and future out-of-pocket

            losses, in amounts to be determined at trial.
            Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 12 of 14




            E.    Order Defendant to make Jackson whole by providing compensation for past

and future nonpecuniary losses resulting from the unlawful practices complained of in

Paragraphs 21-23, 25, 27-31, 33-42 above, including emotional pain, suffering, humiliation,

embarrassment, inconvenience, and loss of enjoyment of life, in amounts to be determined at trial.

            F.    Order Defendant to pay Jackson punitive damages for its malicious and reckless

conduct, as described in Paragraphs 21-23, 25, 27-31, 33- 42 above, in amounts to be determined

at trial.

            G.    Grant such further relief as the Court deems necessary and proper in the public

interest.

        H.        Award the Jackson’s attorneys their fees and costs associated with this action.

TRIAL BY JURY DEMANDED

                                                        Respectfully submitted,


                                                        /s/Byron R. Perkins
                                                        /s/David W. Scott
                                                        BYRON R. PERKINS (ASB-0183-n75b)
                                                        DAVID W.SCOTT (ASB-3053-D52S)
                                                        Attorneys for Plaintiff




OF COUNSEL:
PERKINS-LAW, LLC
The Civic Center Medical Forum Bldg. Suite 550
950 22nd Street North
Birmingham, Alabama 35203
Phone: 205-558-4696
bperkins@perkins-law.com

D.W. SCOTT LAW, LLC
      Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 13 of 14




420 20th Street North
Suite 2200
Birmingham, Alabama (205) 332-1959
david@dwscottlaw.com

                        CERTIFICATE OF SERVICE

            I hereby certify that on 12th June 2018, the foregoing was provided

via Electronic Mail CM/ECF to those listed below:



           James L. Lee, Esq.
           Equal Employment Opportunity Commission
           1801 L Street N.W.
            Washington, D.C. 20507

           Marsha L. Rucker, Esq.
           Christopher Woolley, Esq.
           Gerald L. Miller, Esq.
           Gina Elaine Pearson, Esq.
           EQUAL EMPLOYMENT OPPERTUNITY COMMISSION
           1130 22nd Street South, Suite 2000
           Birmingham, Alabama 35205
           (205) 212-2046

           Christopher A. Driskill, Esq.
           Waller Lansden Dortch & Davis, LLP
           1901 Sixth Ave. North, Suite 1400
           Birmingham, Alabama 35203
           (205) 214-6380
            Chris.Driskill@wallerlaw.com

            Stanley E. Graham, Esq.
            Waller Lansden Dortch & Davis, LLP
            511 Union Street, Suite 2700
            Nashville, Tennessee 37219
            (615) 244-6380
             Stan.Graham@wallerlaw.com
Case 2:17-cv-01649-MHH Document 41 Filed 06/12/18 Page 14 of 14




                                        /s/ Byron R. Perkins_
                                        Byron R. Perkins
